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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2570



This Document Relates to Plaintiff(s)                             Plaintiff Demands a Trial by Jury

CLARA KEISTER

Civil Case # 1:17-cv-00277-RLY-TAB


                 SUGGESTION OF DEATH AND UNOPPOSED MOTION
                          TO SUBSTITUTE PLAINTIFF

       Pursuant to Federal Rules of Civil Procedure, Rules 15 and 25, Plaintiff moves this Court

for leave to amend her Complaint in the above captioned action and, in support, states as follows:


       1.      “A motion for substitution may be made by any party or by the decedent’s successor

or representative.” Fed. R. Civ. P. 25(a)(1).

       2.      Plaintiff Clara Keister (hereinafter the “decedent”), died on December 31, 2021.

See Ex. A, Death Certificate of Clara Keister.

       3.      Joseph P. Keister is decedent’s son.

       4.      Joseph P. Keister was appointed as the Administrator of the Estate of Clara Jane

Keister on July 19, 2022 and is prepared to continue this action in his capacity as Personal

Representative of the Estate. See Ex. B, copy of Letters of Administration.

       5.      This Court should allow this motion to substitute Plaintiff to reflect the proper

plaintiff as Joseph P. Keister, as Administrator of the Estate of Clara Jane Keister.



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       6.     Plaintiff has communicated with the Cook Defendants to seek their assent to this

motion. Defendants do not oppose this motion.

                                           Respectfully submitted,


                                           /s/ Steven B. Rotman
                                           Steven B. Rotman
                                           Hausfeld
                                           One Marina Park Drive
                                           Suite 1410
                                           Boston, MA 02110
                                           (617) 207-0600
                                           srotman@hausfeld.com
                                           Counsel for Plaintiff


Dated: August 11, 2022




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                                 CERTIFICATE OF SERVICE

       I certify that on August 11, 2022, the foregoing was filed electronically and notice of the

filing accordingly will be sent to all required parties by operation of the Court.



                                               /s/ Steven B. Rotman
                                               Steven B. Rotman




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